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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,

                           Plaintiff,
v.                                                   Case No. 2:12-cr-12-02
                                                     HON. PAUL L. MALONEY
SHANE ROBERT DAIGNEAULT, SR.,

                      Defendant.
_______________________________/

                                ORDER OF DETENTION

      Defendant appeared before the undersigned on October 31, 2017, for an

appearance on a summons for supervised release violations. He was advised of his

rights, the charges and penalties.

      Defendant was given a drug screening by the probation officer prior to the

hearing in which indicated a positive result for marijuana. The government requested

the defendant be detained pending further proceedings, which was supported by the

probation department.

      For reasons stated on the record, defendant shall be detained pending further

proceedings.


      IT IS SO ORDERED.

                                         /s/ Timothy P. Greeley
                                        TIMOTHY P. GREELEY
                                        UNITED STATES MAGISTRATE JUDGE
Dated: October 31, 2017
